                                              Case 12-29246                 Doc 62    Filed 01/29/14
                                                                                                  FORMEntered
                                                                                                       1       01/29/14 14:42:33                                        Desc Main
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD2AND REPORT
                                                                                         Document    Page  1 of                                                                                                       Page:        1
                                                                                                            ASSET CASES
Case No:             12-29246       ABG     Judge: A. BENJAMIN GOLDGAR                                                                          Trustee Name:                     JOSEPH E. COHEN
Case Name:           BENDITZKY, ROBERT JOHN                                                                                                    Date Filed (f) or Converted (c):   07/24/12 (f)
                                                                                                                                               341(a) Meeting Date:               08/16/12
For Period Ending: 12/31/13                                                                                                                    Claims Bar Date:



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. Cash on hand Location: In debtor's possession                                               250.00                              0.00                                                0.00                            0.00
 2. Checking account - Bank Financial Location: In ban                                          150.00                              0.00                                                0.00                            0.00
 3. Miscellaneous household goods and furniture Locati                                          500.00                              0.00                                                0.00                            0.00
 4. Miscellaneous used books and family pictures Locat                                          250.00                              0.00                                                0.00                            0.00
 5. Miscellaneous men's clothing Location: In debtor's                                          500.00                              0.00                                                0.00                            0.00
 6. Wedding ring Location: In debtor's possession                                               500.00                              0.00                                                0.00                            0.00
 7. Robert Benditzky ILIT Location: In debtor's posses                                     46,825.00                                0.00                                                0.00                            0.00
 8. IRA - Citibank C3007397                                                               116,099.00                                0.00                                                0.00                            0.00
 9. Roth IRA - Citibank C30077397 Location: With broke                                    116,099.00                                0.00                                                0.00                            0.00
 10. 100% Membership interest in Envision Equity Group,                                           0.00                              0.00                                                0.00                            0.00
 11. Fractional Real Estate Interests Debtor owns a 1/3                                           0.00                              0.00                                                0.00                            0.00
 12. Global Wind, LLC f/k/a IWT, LLC membership interes                                           0.00                              0.00                                                0.00                            0.00
 13. 49.5% memebership interest in Helen Benditzky, LL                                            0.00                              0.00                                                0.00                            0.00
 14. membership interest in JB Investments + Holdings,                                            0.00                              0.00                                                0.00                            0.00
 15. limited partnership interest in Helen Benditzky FL                                    80,000.00                                0.00                                                0.00                       20,000.00
 16. Loan to Rob Baron Amount of Loan: $70,000.00 Uncol                                           0.00                              0.00                                                0.00                            0.00
 17. Beneficiary of Robert J Benditzky Trust, which own                                           0.00                              0.00                                                0.00                            0.00
 18. 2000 Toyota Camry Location: In debtor's possession                                      4,500.00                               0.00                                                0.00                            0.00
 19. Used computers, printer and office equipment Locat                                         500.00                              0.00                                                0.00                            0.00

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $366,173.00                              $0.00                                                $0.00                      $20,000.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




LFORM1                                                                                                                                                                                                                         Ver: 17.04c
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   TRUSTEE HAS REQUESTED BOOKS AND RECORDS FROM THE DEBTOR. TRUSTEE IS INVESTIGATING THE VALUE OF PROPERTY HELD IN TRUST
   AND LLC INTERESTS - January 16, 2014.


   Initial Projected Date of Final Report (TFR): 03/31/14   Current Projected Date of Final Report (TFR): 08/30/14




LFORM1                                                                                                                                                                            Ver: 17.04c
